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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

 FELICIA D. TENNESSEE,

               Plaintiff,

 v.                                                                Civil Action No.: 2:10cv167

 MURPHY-BROWN, L.L.C.,

               Defendant.


      DEFENDANT’S MOTION IN LIMINE TO PREVENT ANY REFERENCE TO
         DEFENDANT’S AFFILIATION WITH SMITHFILED FOODS, INC.

        Defendant Murphy-Brown, L.L.C. (“Defendant”), by counsel, respectfully requests that

 this Court enter an Order in limine preventing Plaintiff Felicia Tennessee (“Plaintiff”) from

 referencing Defendant’s affiliation with Smithfield Foods, Inc. The specific grounds and reasons

 supporting Defendant’s motion are set forth in the accompanying brief.



                                                    MURPHY-BROWN, LLC

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 5th day of October 2011, a true copy of the foregoing

 document was electronically filed with the Clerk of Court using the CM/ECF system, which will

 then send a notification of such filing (NEF) to the following:

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